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                                             12/19/2019 10:01 AM
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     3
     4
                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
     5

    6                                 FOR THE COUNTY OF MULTNOMAH

    7     MARCIA WALKER,                                               Case No.
    8
                         Plaintiff,                                    COMPLAINT
    9                                                                  (Injured Worker Discrimination/
                 V.                                                    Retaliation; Disability Discrimination/
    10
                                                                       Retaliation; Whistleblower
    11    SECURITY INDUSTRY SPECIALISTS,                               Discrimination/Retaliation; Wrongful
          INC., a California corporation,                              Discharge; Age Discrimination)
    12
                         Defendant.                                    CLAIM NOT SUBJECT TO
    13
                                                                       MANDATORY ARBITRATION
    14
                                                                       Prayer Amount: $550,000
    15                                                                 Filing Fee Statute: ORS § 21.160(c)
    16
                Plaintiff alleges:
    17
                                          FIRST CLAIM FOR RELIEF
    18
    19                               (Injured Worker Discrimination/Retaliation)

    20                                                       1.

    21          Plaintiff is a resident of the State of Oregon.
    22
                                                             2.
    23
                Defendant Security Industry Specialists, Inc. is a California corporation doing
    24
         business in Oregon. At all material times Defendant employed six or more employees in the
    25

    26   state of Oregon. At all material times said Defendant acted through agents and employees,

    Page 1 - COMPLAINT
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1    who at all material times acted within the course and scope of their agency and employment

2    for Defendant.
3
                                                       3.
4
            Defendant employed Plaintiff as a Security Specialist from on or about July 11, 2018
 5
 6   until on or about January 4, 2019, when it terminated her employment. At the time she was

 7   hired, she was hired for a swing-shift position, which she had applied for. Shortly after her

8    hire, she was placed on graveyard shift for what she was told would be a short time period to
9
     address stafPing issues. Plaintiff requested to be returned to swing shift repeatedly, but
10
     Defendant refused.
11
12                                                     4'

13          Prior to Plaintiffls termination she sufPered an on-the job injury to her left arm on or
14   around October 2018, when she slipped and fell. Plaintiff reported her injury to Defendant
15
     and filed a workers' compensation claim.
16
                                                       5.
17
18          Defendant subjected Plaintiff to unlawful discrimination and/or retaliation in that

19   Defendant terminated Plaintiff in substantial part because she was an injured worker; and/or
20   invoked and/or utilized the procedures of Oregon state workers' compensation laws; and/or
21
     had applied for benefits under Oregon state workers' compensation laws.
22
                                                       6.
23
            As a result that discrimination, Plaintiff has suffered and continues to suffer
24
25   emotional distress all to her non-economic damage in an amount to be proven at trial, which

26

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1     amount is alleged to be $400,000.
2                                                       7
                                                         .
3
              As a further result of that discrimination, Plaintiff has suffered and continues to suffer
 4
 5    economic loss in an annount to be proven at trial, which amount is alleged to be $150,000.

6                                                       8•
 7            Defendant acted with malice and/or demonstrated a reckless and outrageous

8     indifference to a highly unreasonable risk of harm and acted with a conscious indifference to
9
      the health, safety and welfare of PlaintifP, and Plaintiff reserves the right to allege punitive
10
     damages pursuant to ORS 31.725 and 31.730.
11
12                                                      9.

13            Pursuant to ORS 659A.885 and ORS 20.107, Plaintiff is entitled to her reasonable
14   attorney fees, expert witness fees, costs and disbursements.
15
                                     SECOND CLAIM FOR RELIEF
16
                                   (Disability Discrimination/Retaliation)
17
18                                                      10.

19            Plaintiff realleges paragraphs 1 through 9.
20                                                      11.
21
              Prior to her termination, Plaintiff notified Defendant that she had Post-Traumatic
22
      Stress Disorder (PTSD). Plaintiff's PTSD substantially limited her in one or more major life
23
24   activities, including, but not limited to, sleeping and concentrating. The symptoms of

25   Plaintiff's PTSD were particularly pronounced around the winter holidays, which Plaintiff
26   disclosed to Defendant. Defendant had notice of said condition and perceived Plaintiff to be
Page 3 - COMPLAINT
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1    a disabled person on account thereof.

2                                                    12.
3
            Prior to Plaintiffs termination, Plaintiff requested reasonable accommodation of her
4
     disability. These requests for accommodation included but were not limited to, adjustment of
5
6    her work schedule, returning to swing shift, flex time, and/or assistance with her workload.

 7   Defendant failed to provide any accommodations and failed to engage in the interactive

8    process to determine what accommodation could be provided.
9
                                                     13.
10
            Defendant discriminated against Plaintiff in one or more of the following ways;
11
12          a)      failing to reasonably accommodate her disability;,

13          b)      failing to engage in the interactive process with Plaintiff to identify a
14                  reasonable accommodation;
15
            c)      retaliating against her for requesting accommodations;
16
            d)      subjecting her to a hostile work environment, including but not limited to,
17
18                  refusing to return her to swing shift; criticizing her work performance;

19                  subjecting her to increased scrutiny; berating her in front of other employees;
20                  and comtnenting negatively about her PTSD and telling her to "leave it at the
21
                    door"; and/or
22
            e)      discharging her in substantial part because of her disability, medical history
23

24
                    and/or record of having a disability, because it perceived her to be a disabled

25                  person, andlor in retaliation for requesting a reasonable accommodation.

26

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1                                    THIRD CLAIM FOR RELIEF
2
                               (Statutory Whistleblowing - ORS 659A.199)
3
                                                       14.
4
5            Plaintiff realleges paragraphs 1 through 13.

6                                                      15.

7            Prior to Plaintiff s termination, she reported to Defendant what she believed in good

8    faith to be a violation of state and/or federal laws, rules or regulations, vfz., harassment,
9
     hostile work environment, retaliation following her work-related injury, and/or retaliation
10
     related to her disclosure of her PTSD.
11
12                                                     16.                                           ,

13           Plaintiff was ternunated in substantial part for reporting what she believed in good
14   faith to be evidence of a violation of a state or federal law, rule or regulation, as alleged in
15
     paragraph 15.
16
                                    FOURTH.CLAIM FOR RELIEF
17
18                                         (Wrongful Discharge)

19                                                      fVA

20           Plaintiff realleges .paragraphs 1 through 16
21
                                                        18.
22
           Prior to her ternunation, Plaintiff engaged in an important, employment-related right
23                        ~
24   by complaining about and/or opposing what she believed to be unlawful activity on the part

25   of Defendant.
26

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     1                                                      19.

     2             Defendant terminated Plaintiff in substantial part for exercising her important,
    3
           employment related rights, as alleged in paragraph 18 above.
     4
'                                         FIFTH CLAIM FOR RELIEF
     5
     6                            (Age Discrimination/Retaliation - ORS 659A.030)

     7                                                      20.

    8             Plaintiff realleges paragraphs 1 through 19.
    9
                                                            21.
    10
                  Plaintiff was born in 1958. At the time Defendant terminated her employment she
    11
    12     was sixty years old.

    13                                                      22.
    14            Plaintiff was the oldest employee working as a Security Specialist at her employment
    15
           location.
    16
                                                            23.
    17
    18            Plaintiff's age was a substantial factor in her termination and in Defendant's conduct

    19     as alleged in paragraphs 3, 5, and 13.
    20            WHEREFORE, Plaintiff prays for judgment as alleged in the claims stated above.
    21
                  DATED this 19'h day of December, 2019.
    22
                                                           BUSSE & HUNT
    23
    24                                                     s/ Kirsten Rush
                                                           KIRSTEN RUSH, OSB #124426
    25                                                     krush@busseandhunt. com
                                                           Of Attorneys for Plaintiff Marcia Walker
    26
                                                           Trial Attorney: Kirsten Rush, OSB #124426
    Page
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